           Case 2:22-cv-00185-RSL-TLF Document 23 Filed 03/30/22 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9
10    SANDRA LOPEZ, individually and on
      behalf of all others similarly situated,             CASE NO. C22-185RSL
11
                           Plaintiffs,
12                                                         ORDER OF REFERENCE
                    vs.                                    Supervision of All Pretrial
13                                                         Proceedings in Civil Case
      SEA MAR COMMUNITY HEALTH
14    CENTERS,

15                         Defendants.

16         The Court hereby refers all pretrial proceedings in this case to United States Magistrate

17   Judge Theresa L. Fricke, pursuant to 28 U.S.C. §636(b)(1), Local Rules MJR 3 and 4. The

18   Magistrate Judge shall:

19         (a)    consider and take appropriate action upon any and all motions currently pending,

20                and any other motions filed prior to trial;

21         (b)    supervise the completion of discovery;

22         (c)    supervise the preparation of a pretrial order; and

23         (d)    consider and act upon such other matters as might arise in the pretrial phases of

24                this case.

25         Review of actions by the Magistrate Judge shall be in accordance with the provisions of

26   28 U.S.C. §636(b)(1), Fed. R. Civ. P. 72, and Local Rules MJR 3 and 4.

27
28

     ORDER OF REFERENCE
         Case 2:22-cv-00185-RSL-TLF Document 23 Filed 03/30/22 Page 2 of 2



 1       DATED this 30th day of March, 2022.
 2
 3                                      A
 4                                      Robert S. Lasnik
                                        United States District Judge
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER OF REFERENCE
